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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

LONE   STAR     TECHNOLOGICAL                   §
INNOVATIONS, LLC,                               §
                                                §     CIVIL ACTION NO. 6:19-CV-00059-RWS
                                                §
                 Plaintiff,                     §
                                                §
v.                                              §
                                                §
ASUSTEK COMPUTER INC.,                          §
                                                §
                 Defendant.                     §
                                                §


                                            ORDER
          The Court hereby SETS ASUSTeK Computer Inc.’s Motion to Strike (Docket No. 86) for
      .
a hearing at 10 a.m. on June 3, 2020. It is further

          ORDERED that the June 3 hearing shall be limited to three-and-one-half hours of

argument allocated as follows:

             ISSUE                       PLAINTIFF                    DEFENDANTS
     Claim Construction                  90 minutes                    90 minutes

      Motion to Strike                   15 minutes                    15 minutes



           So ORDERED and SIGNED this 19th day of May, 2020.




                                                           ____________________________________
                                                           ROBERT W. SCHROEDER III
                                                           UNITED STATES DISTRICT JUDGE
